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                                                                                            CLERK U.S. BANKRUPTCY COURT

 6   Attorneys for Debtor                                                                   Central District of California
                                                                                            BY mccall     DEPUTY CLERK


 7
                               UNITED STATES BANKRUPTCY COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9

10                                            SANTA AN DIVISION

11   In re:                                                  )   Case No.: 8:23-bk-10968-TA
                                                             )
12   BRIAN MICHAEL LEACH,                                    )   Chapter 13
                                                             )
13                                                           )   ORDER EXTENDING TIME TO FILE
                            Debtor.                          )   SUMMARY OF SCHEDULES,
14                                                           )   STATISTICAL SUMMARY OF CERTAIN
                                                             )   LIABILITIES, SCHEDULES,
15                                                           )   DECLARATION CONCERNING
                                                             )   SCHEDULES, STATEMENT OF
16                                                           )   FINANCIAL AFFAIRS, FORM 22B,
                                                             )   EMPLOYEE INCOME RECORD,
17                                                           )   CHAPTER 13 PLAN AND OTHER
                                                             )   REQUIRED CHAPTER 13 DOCUMENTS
18                                                           )
                                                             )
19                                                           )
                                                             )
20
              Having considered the Ex Parte Application of Debtor BRIAN MICHAEL LEACH for
21
     an Order Extending Time to File Summary of Schedules, Statistical Summary of Certain
22
     Liabilities, Schedules, Declaration Concerning Schedules, Statement of Financial Affairs, Form
23
     22B, Employee Income Record, Chapter 13 Plan and Other Required Chapter 13 Documents,
24
     filed on May 24, 2023 as docket entry number 9, and good cause appearing therefore,
25   //
26   //
27   //
28   //
     //
                                               1
     ______________________________________________________________________________________
                      Order on Ex Parte Application for Order Extending Time to File Deficiency Documents
     Case 8:23-bk-10968-TA            Doc 10 Filed 05/26/23 Entered 05/26/23 13:58:41                       Desc
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 1          IT IS ORDERED that the time to file the Debtor’s Summary of Schedules, Statistical
 2   Summary of Certain Liabilities, Schedules, Declaration Concerning Schedules, Statement of

 3   Financial Affairs, Form 22B, Employee Income Record, Chapter 13 Plan and Other Required

 4   Chapter 13 Documents, in this case is extended to June 7, 2023.
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          Date: May 26, 2023
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     ______________________________________________________________________________________
                      Order on Ex Parte Application for Order Extending Time to File Deficiency Documents
